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                   UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS
UNITED STATES OF AMERICA )
                         )
         v.              )                     Criminal No. 16-10343-ADB
                         )
SUNRISE LEE,             )
    Defendant.           )

                               NOTICE OF APPEAL

      Notice is hereby given that the United States of America (the prosecution in

the above-captioned case) hereby appeals to the United States Court of Appeals for

the First Circuit from the district court’s (Burroughs, J.) November 26, 2019

Memorandum and Order on Defendants’ Motions for Judgment of Acquittal and for

a New Trial granting in part defendants Sunrise Lee, Richard M. Simon, Joseph A.

Rowan and John Kapoor’s motions for judgment of acquittal (entered on the docket

on November 26, 2019) (Doc. No. 1028)1, and from the sentence imposed by the

district court on the defendant Sunrise Lee on January 22, 2020, including but not

limited to the district court’s January 22, 2020 oral forfeiture ruling.




      1
         On December 11, 2019, the government moved to extend the time within
which to file its notice of appeal by 30 days. (Doc. Nos. 1029, 1083.) On
December 12, 2019, the district court granted the motion, giving the government
until January 25, 2020 to file its notice of appeal. (Doc. Nos. 1034, 1084.)
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                                        Respectfully submitted,

                                        ANDREW E. LELLING
                                        United States Attorney

                                 By:    /s/ Mark T. Quinlivan
                                        K. NATHANIEL YEAGER
                                        FRED WYSHAK, JR.
                                        DAVID G. LAZARUS
                                        MARK T. QUINLIVAN
                                        Assistant U.S. Attorneys

                               Certificate of Service

      I hereby certify that on January 24, 2020, this Notice of Appeal filed through
the ECF system will be sent electronically to the registered participants as identified
on the Notice of Electronic Filing (NEF) and paper copies will be sent to those
indicated as non-registered participants.

                                              /s/ Mark T. Quinlivan
                                              MARK T. QUINLIVAN
                                              Assistant U.S. Attorney




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